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                     IN THE UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION                                                ENTERED
                                                                                                  06/24/2015
In re:                                           §     Chapter 11
                                                 §
BPZ Resources, Inc.,                             §     Case No.: 15-60016 (DRJ)
                                                 §
                       Debtor.                   §


AGREED ORDER GRANTING DEBTOR’S MOTION EXTENDING THE EXCLUSIVE
  PERIODS TO FILE AND SOLICIT ACCEPTANCES OF A CHAPTER 11 PLAN
                        [Relates to Dkt. No. 198]

         Upon consideration of the motion of BPZ Resources, Inc. (the “Debtor”) for entry of an

order extending the Debtor’s exclusive periods to file and solicit acceptances of a chapter 11 plan

(the “Motion”), the Court finds that: (a) it has jurisdiction over the matters raised in the Motion

pursuant to 28 U.S.C. § 1334(b); (b) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

(c) the relief requested in the Motion is in the best interest of the Debtor and its estate, creditors,

and other parties-in-interest; (d) proper and adequate notice of the Motion has been given and no

other or further notice is necessary; and (e) good and sufficient cause exists for the granting of

the relief requested in the Motion after having given due deliberation upon the Motion and all of

the proceedings before the Court in connection with the Motion. Therefore, it is HEREBY

ORDERED THAT:

         1.     The Motion is GRANTED to the extent set forth herein.

         2.     Pursuant to section 1121(d) of the Bankruptcy Code, the Debtor’s exclusive

period to file a chapter 11 plan is extended through and including August 6, 2015.

         3.     The relief granted herein is without prejudice to the Debtor seeking any additional

extensions of the periods provided in Bankruptcy Code section 1121.
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       4.      This Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.


Respectfully submitted,

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Counsel for the Official Committee of Unsecured
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SO ORDERED.

Dated:
     Signed: June 24, 2015.                        UNITED STATES BANKRUPTCY JUDGE
                                                    ____________________________________
                                                    DAVID R. JONES
                                                    UNITED STATES BANKRUPTCY JUDGE




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